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                                                     EXHIBIT 1
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------X
   ROSE ANN PAGUIRIGAN, individually and
   on behalf of all others similarly situated,                     :

                                      Plaintiff,                  :    1:17 Civ. 1302 (NG) (CLP)

                             -vs-                                 :

   PROMPT NURSING EMPLOYMENT AGENCY                               :
   LLC d/b/a SENTOSA SERVICES,
   SENTOSACARE LLC, SENTOSA NURSING                               :
   RECRUITMENT AGENCY, BENJAMIN LANDA,
   BENT PHILIPSON, BERISH RUBENSTEIN a/k/a                        :
   BARRY RUBENSTEIN, FRANCIS LUYUN,
   GOLDEN GATE REHABILITATION & HEALTH                            :
   CARE CENTER LLC, and SPRING CREEK
   REHABILITATION AND NURSING CENTER,                             :

                                       Defendants.                 :
   ----------------------------------------------------------------X

                             SETTLEMENT AGREEMENT AND RELEASE

           This Settlement Agreement and Release (the “Agreement”) is made and entered into by
   and between Plaintiff Rose Ann Paguirigan, individually and as representative of the Plaintiff
   Class (collectively “Plaintiffs”) on the one hand, and Defendants Prompt Nursing Employment
   Agency LLC d/b/a/ Sentosa Services, SentosaCare LLC, Sentosa Nursing Recruitment Agency,
   Benjamin Landa, Bent Philipson, Berish Rubenstein a/k/a Barry Rubenstein, Francris Luyun,
   Golden Gate Rehabilitation & Health Care Center LLC, and Spring Creek Rehabilitation and
   Nursing Center (collectively “Defendants”) on the other hand.

          WHEREAS, on March 7, 2017, Plaintiff Rose Ann Paguirigan filed a Class Action
   Complaint in this action alleging claims against Defendants for alleged violations of the
   Trafficking Victims Protection Act (“TVPA”), 18 U.S.C. § 1589, et seq., and for breach of
   contract under New York law [ECF 1];

          WHEREAS, on September 12, 2018, this Court entered an Order certifying a class
   comprised of “all nurses who were recruited by the defendants in the Philippines and were
   employed by the defendants in the United States at any time since December 23, 2008” (the
   “Class”) and appointing John Howley, Esq. and Leandro B. Lachica, Esq. as Class Counsel [ECF
   72];

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           WHEREAS, on November 28, 2018, this Court entered an Order approving a proposed
   notice to the Class [ECF 80];

          WHEREAS, on December 17, 2018, Class Counsel advised the Court that notice was
   provided to putative class members as required by the Court’s November 28, 2018 Order [ECF
   83];

          WHEREAS, on October 17, 2019, Class Counsel advised the Court that they had not
   received any requests to opt out of the Class [ECF 101];

           WHEREAS, on September 24, 2019, this Court issued an Opinion and Order granting in
   part and denying in part cross-motions for summary judgment, and directing entry of a partial
   judgment [ECF No. 95];

           WHEREAS, on September 27, 2019, a partial judgment was entered as to liability on the
   breach of contract claims in favor of Plaintiffs against Defendants Prompt Nursing and
   Rubenstein; as to liability on the Trafficking Victims Protection Act claims in favor of Plaintiffs
   against all Defendants; declaring that the liquidated damages provisions in the employment
   contracts and confessions of judgment at issue are unenforceable; and permanently enjoining
   Defendants from enforcing or attempting to enforce either (the “Partial Judgment”) [ECF No.
   96];

          WHEREAS, Defendants appealed the Partial Judgment [ECF No. 103];

           WHEREAS, the United States Court of Appeals for the Second Circuit: (1) affirmed this
   Court’s declaration that the liquidated damages clause is unenforceable; (2) affirmed the
   injunction against its enforcement; but (3) specifically refused to consider any other issues on an
   interlocutory appeal including whether the Defendants violated the TVPA;

           WHEREAS, on June 1, 2021, this Court issued an Opinion and Order awarding the
   Plaintiffs: (1) $1,559,099.79 in compensatory damages plus statutory interest at 9% against
   defendants Prompt and Rubenstein on the breach of contract of claim; or (2) $1,559,099.79 in
   compensatory damages plus interest at the federal rate against all Defendants for violations of the
   TVPA; and (3) directing that Plaintiffs’ claims for punitive damages be determined by a jury (the
   “Damages Order”) [ECF 140];

          WHEREAS, Plaintiffs and Defendants (collectively, the “Parties”) desire to resolve all
   claims and counterclaims raised in this lawsuit or could have been raised, without the risks,
   expense, and aggravation of further litigation;




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          NOW, THEREFORE, with the intent to be legally bound, and for good and valuable
   consideration, the sufficiency and receipt of which the Parties acknowledge, the Parties agree as
   follows:

           1.      Consideration: In lieu of incurring further litigation costs associated with
   defending the lawsuit, and in consideration for the execution of this Agreement, which includes a
   release of claims, Defendants agree to pay a total of Three Million Dollars and No Cents
   ($3,000,000.00) (the “Settlement Amount”) as follows:

              a. An incentive fee of $10,000.00 for serving as class representative;

              b. Checks payable to each Class member in the amounts set forth on the attached
                 Schedule A in full satisfaction of their claims for damages in this lawsuit; and


              c.    An award to “The Howley Law Firm P.C.” in the amount as determined by the
                   Court pursuant to ¶ 13.c. herein. in full satisfaction of Plaintiffs’ claims for
                   attorneys’ fees, costs, and expenses.

              d. Defendants shall issue an IRS Form 1099-MISC to each person receiving a
                 payment under this Agreement.

          2.      Timing of Payment. Payment shall be made on or before the Payment Date
   defined below. The Parties agree that Class Counsel are third-party beneficiaries of this
   Agreement. If payment is not made by the Payment Date, Defendants agree to pay Plaintiff’s
   and Class Counsel’s costs related to enforcing this Agreement, including reasonable attorneys’
   fees and disbursements.

           3.      Full Payment: Plaintiffs agree and affirm that the payments described above shall
   constitute the entire amount of monetary consideration provided to Plaintiffs and Class Counsel
   for alleged damages, interest, attorney’s fees, costs, and other expenses.

           4.      Taxes and Withholding: Plaintiffs expressly acknowledge and agree that they are
   responsible for the payment of all federal, state, and local taxes, if any, which are required by
   law to be paid by them with respect to the above payments in Paragraph 1. If any taxing body
   determines that the tax treatment was incorrect, Plaintiffs acknowledge and assume all
   responsibility for paying those amounts and further agree to indemnify and hold the Defendants
   harmless for payment of any additional taxes and any interest and penalties thereon.

           5.      Release of Claims by Plaintiffs: Plaintiffs, individually and on behalf of their
   spouses, heirs, executors, testators, representatives, agents, successors and assigns, freely and
   irrevocably relinquish, release, and waive all claims for damages, salaries, wages, compensation,
   overtime compensation, monetary relief, and any other benefits of any kind, earnings, back pay,
   liquidated and other damages, interest, attorneys’ fees and costs, related to her or his

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   employment, association, recruitment, training or otherwise in any manner by or with any of the
   Defendants that were raised, or could have been raised, pursuant to the Trafficking Victims
   Protection Act (“TVPA”) or any other law or statute, whether in law or equity, as well as any
   claims actually raised in the Action against Defendants, including any parent companies,
   subsidiaries, divisions, related or affiliated companies, predecessors, successors or assigns,
   current or former employees, agents, independent contractors, vendors, shareholders, officers,
   and directors, and their spouses, heirs, executors, testators, representatives, agents, successors
   and assigns, in their individual and representative capacities (collectively, the “Releasees”), that
   may have arisen from the beginning of time through the Effective Date of this Agreement.


           6.      Claims Excluded from the Release: The release of claims described in Paragraph
   5 shall not prevent any Plaintiff from participating in any investigation or proceeding conducted
   by the United States Equal Employment Opportunity Commission, National Labor Relations
   Board or any other governmental agency charged with enforcement of any law. Plaintiffs,
   however, agree and understand that they have waived any right to recover monetary damages or
   other relief personal to Plaintiffs in any such proceeding, complaint or lawsuit in any way
   relating to any released claims.

           7.     Release of Claims by the Defendants: Defendants and their respective parent
   companies, subsidiaries, divisions, related or affiliated companies, predecessors, successors or
   assigns, shareholders, officers, and directors, and their spouses, heirs, executors, testators,
   representatives, agents, successors and assigns freely and irrevocably relinquish, release, and
   waive all claims for damages against Plaintiffs for breach of any employment contract, including
   without limitation any claim for liquidated damages, that may have arisen from the beginning of
   time through the Effective Date of this Agreement.

           8.      Partial Vacatur: The Parties shall file a joint motion to vacate: (a) only that
   portion of the Partial Judgment that relates to and found any violation of the TVPA and the
   findings related to piercing the corporate veil; and (b) only that portion of the Damages Order
   that found Defendants liable for compensatory damages and federal statutory interest for
   violations of the TVPA. In light of the above, there is no need for a jury trial to determine
   whether the Plaintiffs are entitled to punitive damages. Defendants’ attorneys shall be
   responsible for drafting the joint motion to vacate and shall file the motion after approval from
   Class Counsel.

           9.     Contingency of Settlement: This Settlement Agreement is contingent upon the
   Court granting the Motion to Vacate, in its entirety, as set forth above in Paragraph 8. Should the
   Court deny the Motion to Vacate, vacate the judgment in any way which does not conform to
   what is provided for herein, or grant the motion in part, this Settlement Agreement shall become
   null and void in its entirety, the motion to vacate shall be withdrawn, and there shall be no
   obligation upon the Defendants to pay any amount in settlement, including those amounts set
   forth in Paragraph 1.


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           10.     No Admission of Liability or Wrongdoing: Neither this Agreement nor anything
   contained herein constitutes or is intended to constitute an admission of liability or wrongdoing
   by any Defendant under any law, ordinance, rule, regulation, policy or order with respect to any
   claim that Plaintiff has asserted, could have asserted, or may assert in connection with the
   employment of Plaintiffs by or with Defendants.

           11.     Bona Fide Dispute: This Agreement is in settlement of disputed claims. The
   Parties agree that there is a bona fide dispute as to whether Plaintiffs would prevail on the merits
   of their claims at a punitive damages trial or on appeal. The amount being paid to Plaintiffs and
   Class Counsel, as indicated in Paragraph 1, is a fair and reasonable resolution of this bona fide
   dispute.

         12.      Changes to the Agreement: This Agreement may not be changed unless the
   changes are in writing, signed by all Parties or their designees, and approved by the Court.

          13.     Submission to Court for Approval: The Parties agree to submit this Agreement to
   the Court for approval.

              a.    Upon complete execution of this Agreement, the Parties shall file a joint and
                   unopposed application for preliminary settlement approval (“Preliminary
                   Approval Motion”) and Motion for Partial Vacatur as set forth in Paragraph 8. In
                   connection with the Preliminary Approval Motion, the Parties will submit to the
                   Court: (1) the proposed Notice of Settlement, (2) the proposed Preliminary
                   Approval Order, (3) an executed version of this Agreement and (4) a proposed
                   Order of Partial Vacatur. Class Counsel shall be responsible for drafting the
                   Preliminary Approval Motion and shall file the motion after approval from
                   Defendants.

              b. The Preliminary Approval Motion shall request a 60-day deadline from the initial
                 mailing of the Notice of Settlement for any Class member to file any objections.
                 The Preliminary Approval Motion shall request a date for a Fairness Hearing no
                 earlier than 90 days following the date that the Court enters the Preliminary
                 Approval Order.

              c. Class Counsel shall file a motion for approval of attorneys’ fees, costs, and
                 expenses for an amount not to exceed Six Hundred Fifty-Six Thousand Dollars
                 and Forty-Three Cents ($656,432.43) said fee to be paid exclusively from the
                 Settlement Amount. Defendants agree not to object to that motion.

              d. The Parties will work together diligently and in good faith to obtain a Preliminary
                 Approval Order. Any disputes that may arise between the Parties related to their
                 efforts to obtain a Preliminary Approval Order, other than a denial of the motion


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                 of Partial Vacatur as set forth in Paragraph 8 and the contingent nature of the
                 settlement as set forth in Paragraph 9, shall be submitted to the Court.

             e. If the Court denies the Preliminary Approval Motion, the Parties will work
                together, diligently and in good faith, to remedy any issues causing such denial
                and to seek reconsideration of the ruling or order denying approval and/or Court
                approval of a renegotiated settlement. If, despite the Parties’ efforts, the Court
                continues to deny the Preliminary Approval Motion, the Motion to Vacate shall
                be withdrawn, and the action will resume as if no settlement had been attempted.

           14.     Notice of Settlement: Within ten (10) days of the Preliminary Approval Order
   being signed by the Court, Class Counsel shall mail a copy of the Notice of Settlement to each
   Class Member at their last known address via United States First Class Mail, postage prepaid.
   The return address on the envelopes shall reference the name and address of Class Counsel. The
   envelope shall indicate with a bold and conspicuous marking that the mailing relates to the
   settlement of claims in the “Sentosa Class Action.”

             a. In the event that a Notice of Settlement is returned to Class Counsel by the United
                States Postal Service with an updated address, Class Counsel shall re-mail the
                Notice to that updated address within two (2) days. Such Class Member shall be
                entitled to 15 days from the date of any subsequent mailing (but no less than the
                original 60 days) to file any objections to the settlement.

             b. In the event that a Notice of Settlement is returned to Class Counsel by the United
                States Postal Service with no forwarding address, Class Counsel shall perform one
                (1) standard skip trace within five (5) days of the returned Notice in an effort to
                ascertain the updated address for the Class Member in question. If an updated
                address is ascertained, Class Counsel shall re-mail the Notice of Settlement to that
                updated address within two (2) days thereafter. Such Class Member shall be
                entitled to 15 days from the date of any subsequent mailing (but no less than the
                original 60 days) to file any objections to the settlement.

             c. Within ten (10) days of the Preliminary Approval Order being signed by the
                Court, Class Counsel shall also email a copy of the Notice of Settlement to each
                Class Member for whom an email address is available. The subject of the email
                shall state “Court Authorized Notice: Sentosa Class Action Settlement.” The
                body of the email shall read as follows: “You are receiving this email because
                you were identified as a current or former employee of Prompt Nursing
                Employment Agency LLC d/b/a Sentosa Services whose legal rights may be
                affected the settlement in Paguirigan v. Prompt Nursing Employment Agency
                LLC, et al., 1:17 Civ. 1302, in the United States District Court for the Eastern
                District of New York. The attached Notice contains important, time-sensitive
                information about your legal rights.” There shall be no skip trace or further

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                  affirmative steps taken to obtain an updated email address if the email address
                  provided is not current or no email address is known.

          15.     Objections and Fairness Hearing: Any Class member who objects to the
   settlement (an “Objector”) must fax, email or postmark a signed, written statement to Class
   Counsel stating that they object to the settlement, stating the reasons for their objection, and
   providing their full name, mailing address, email address, and telephone number (the
   “Objection”). Any reasons not included in the written Objection shall not be considered by the
   Court.

              a. Class Counsel shall promptly file any and all Objections with the Court. The
                 Parties may file with the Court written responses to any filed Objections no later
                 than seven (7) days before the Fairness Hearing.

              b. An Objector also has the right to appear at the Fairness Hearing either in person
                 or through counsel retained by the Objector. An Objector who wishes to appear
                 at the Fairness Hearing must clearly state his or her intention to do so in writing
                 on his or her written Objection. It is in the Court's discretion whether to allow the
                 Objector or the Objector's counsel to speak at the Fairness Hearing.

              c. An Objector may withdraw his or her Objection at any time.

              d. No later than fourteen (14) days before the Fairness Hearing, the Parties shall file a
                 Joint and Unopposed Motion for Judgment and Final Approval. Prior to filing,
                 Class Counsel shall provide draft documents in support of the Joint and
                 Unopposed Motion for Judgment and Final Approval to Defendants’ attorneys for
                 review, comment and approval.

              e. At the Fairness Hearing, the Parties shall request that the Court enter an Order and
                 Judgment approving the Agreement as fair, reasonable, adequate, final and
                 binding on all Class members, and dismissing this action with prejudice.

              f. Court approval of this action is a material condition of this Agreement and the
                 Parties’ obligations hereunder. This Agreement shall not be effective or
                 enforceable and no payments set forth in Paragraph 1 will be made hereunder
                 unless and until the Agreement is approved by the Court. If the Court denies final
                 approval of this Agreement, then the Motion to Vacate shall be withdrawn.

          16.     Effective Date: The Effective Date of this Agreement shall be the date on which
   the Court enters an Order granting final approval of the Agreement.

          17.      Payment Date: No later than thirty (30) days after the Effective Date, Defendants
   shall mail the settlement checks described in Paragraph 1 above directly to each Class member

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 SCHEDULE A - SETTLEMENT PAYMENTS TO EACH CLASS MEMBER
                                            9% Interest
                              Damages        Through     Total Settlement
First Name     Last Name      Awarded        12/31/21        Payment
Charity        Abamonga        $10,905.34      $3,501.58       $14,406.92
Gloria         Agoto            $5,722.90      $2,575.22        $8,298.12
Elizabeth      Almazan         $26,967.79     $10,042.78       $37,010.57
Melanie        Alterado         $1,353.27        $487.18        $1,840.45
Lerio          Alvarado        $18,645.16      $6,778.81       $25,423.97
Lorna          Amindalan       $13,959.25      $9,404.46       $23,363.71
Robin          Ancheta          $8,043.47      $5,157.41       $13,200.88
Wilwen         Antigua         $11,479.15      $4,048.71       $15,527.86
Ophelia        Arana           $11,109.39      $3,677.17       $14,786.56
Melissa        Aranton         $23,413.32      $9,976.59       $33,389.91
Charisse       Arca            $32,451.54     $22,866.09       $55,317.63
Ivy Pearl      Arevalo         $10,214.99      $3,179.80       $13,394.79
May            Asotigue        $12,386.00      $5,573.79       $17,959.79
Michelle       Atayde          $33,870.75     $22,166.78       $56,037.53
Sonia          Austria         $19,397.62     $12,865.41       $32,263.03
Alexander      Bane            $13,579.60      $6,110.82       $19,690.42
Hyacinth       Baraan          $29,372.22     $16,047.67       $45,419.89
Diana          Bartolome        $1,441.20        $389.18        $1,830.38
Joan           Basinal          $2,597.09        $934.95        $3,532.04
Ryan           Bautista         $3,342.00      $1,503.90        $4,845.90
Clarissa       Baylon           $2,434.08        $876.27        $3,310.35
Redentor       Belvis           $2,785.55      $1,253.50        $4,039.05
Vivian         Blanco           $1,741.16        $626.82        $2,367.98
Ma. Charisma   Bolido           $1,211.58        $436.16        $1,647.74
Michelle       Borra            $8,360.51      $5,543.62       $13,904.13
Jackie         Budlong          $7,557.12      $4,373.57       $11,930.69
Noemi          Budlong          $7,818.81      $4,650.90       $12,469.71
Jaime          Buenaventura    $19,435.27      $6,707.44       $26,142.71
Julius         Bugante         $40,853.35     $22,904.77       $63,758.12
Jessica        Bunao           $11,471.00      $8,006.28       $19,477.28
Charisse       Butanas         $11,050.00      $6,961.50       $18,011.50
Roper          Caguan           $3,119.63      $1,684.60        $4,804.23
Ma. Fatima     Caguete            $841.55        $227.27        $1,068.82
Frederick      Calara          $32,479.50     $20,665.56       $53,145.06
Mariano        Calimag          $5,257.10      $1,892.63        $7,149.73
Shiela Marie   Caluag           $3,644.13      $1,967.87        $5,612.00
Nur-Ainie      Calvi           $34,578.75     $22,185.27       $56,764.02
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 Rizalie Ann     Camacho         $5,910.84    $1,595.99     $7,506.83
 Bridelyn        Caoagas        $20,952.50   $12,441.16    $33,393.66
 Arlene          Carpio          $4,152.56    $2,989.84     $7,142.40
 Cecile          Carreon        $28,492.10   $13,234.63    $41,726.73
 Maria Theresa   Casado         $11,236.84    $4,045.32    $15,282.16
 Christine       Castro         $24,945.50   $12,414.89    $37,360.39
 Dymonde         Catiling        $3,025.75    $1,089.27     $4,115.02
 Lorie           Cedilla         $5,558.25    $3,400.86     $8,959.11
 Analyn          Chua            $8,716.09    $6,275.58    $14,991.67
 Jennifer A.     Chua            $1,906.38      $857.87     $2,764.25
 Mylyn           Clerigo        $28,345.66    $9,630.38    $37,976.04
 Darwin          Costales       $19,859.50   $12,511.11    $32,370.61
 Theresa         Cotaco         $39,155.50   $21,631.55    $60,787.05
 Maria Socorro   Cruz           $12,645.69    $3,414.43    $16,060.12
 Charie          Dagui          $16,435.86    $6,126.70    $22,562.56
 Germaine        Dano            $2,069.46      $745.01     $2,814.47
 Marian Ritz     De Los Reyes   $23,414.05    $9,660.37    $33,074.42
 Joanne R        Dela Rosa      $26,663.50   $14,456.29    $41,119.79
 Donald L        Doles          $23,715.17    $8,608.07    $32,323.24
 Everlyn C       Domingo        $10,259.62    $6,033.77    $16,293.39
 Luann M         Duterte        $39,933.00   $22,924.33    $62,857.33
 Vilma           Egina           $9,502.50    $6,530.40    $16,032.90
 Blossom         Engbino        $21,250.71    $6,647.48    $27,898.19
 Alvin           Flores         $28,320.50   $18,418.05    $46,738.55
 Wences          Fuertes        $17,540.39    $5,447.70    $22,988.09
 Primera         Gadia          $17,877.78   $11,610.36    $29,488.14
 Nathaniel       Galapon         $1,319.06      $593.58     $1,912.64
 Rogelio         Galliguez      $15,950.59    $5,840.65    $21,791.24
 Desiree         Gardon         $16,009.10    $5,055.61    $21,064.71
 Heidi           Giron          $16,533.00   $13,919.49    $30,452.49
 Tiffany         Go              $9,036.33    $6,349.09    $15,385.42
 Perciela B      Herrera         $1,743.25      $784.46     $2,527.71
 Mary Ann        Heyrana         $8,470.18    $2,036.22    $10,506.40
 Mary Mildred    Hontucan       $18,229.52   $11,206.62    $29,436.14
 Diala           Hular          $16,040.84    $4,637.58    $20,678.42
 Ronaldo         Ignacio         $2,158.74      $777.14     $2,935.88
 Irene           Imperial        $5,584.67    $2,513.16     $8,097.83
 Cynthia B       Ince            $2,206.32    $1,191.30     $3,397.62
 Sheila          Jordan          $1,444.18      $519.98     $1,964.16
 Ma. Ruth        Jose           $32,228.37   $21,307.89    $53,536.26
 Ernesto         Lagliba        $18,743.75   $11,035.45    $29,779.20
 Elenee          Largado        $28,772.25   $16,143.64    $44,915.89
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 Arch Knievel    Layumas         $19,893.45    $6,049.14   $25,942.59
 Hermie-Linda    Legaspi          $3,251.38    $1,463.32    $4,714.70
 Anna Maria      Leones          $14,505.27    $9,138.32   $23,643.59
 Kristina        Limjuco         $21,836.50   $13,097.51   $34,934.01
 Cherry          Llaneza         $34,486.15   $23,435.42   $57,921.57
 Jamie           Llarena         $19,245.50   $12,639.99   $31,885.49
 Rachen Ann      Loresto          $2,755.38      $743.95    $3,499.33
 Gladys T        Macanas          $8,081.29    $1,719.87    $9,801.16
 Arlyn           Manrique         $2,413.90      $651.72    $3,065.62
 Madelyn         Manuel           $7,286.43    $2,388.96    $9,675.39
 Mariel          Marcelo          $3,816.49    $1,373.94    $5,190.43
 Mark            Maristela       $16,658.24    $6,956.60   $23,614.84
 Maria Grace     Mimay            $2,588.36    $1,397.66    $3,986.02
 Ermelinda       Monderin         $2,880.75    $1,296.25    $4,177.00
 Armida          Nicolas          $4,183.23    $1,882.48    $6,065.71
 Marilou         Orlina             $383.88      $214.29      $598.17
 Margaret        Padernal        $13,513.00    $6,680.94   $20,193.94
 Rose Ann        Paguirigan      $10,263.13    $4,611.15   $14,874.28
 Irma            Pagulayan       $13,842.07    $5,541.68   $19,383.75
 Noreen          Paronda         $16,916.32    $6,375.22   $23,291.54
 Maria Ely       Perolino         $3,556.83    $1,600.61    $5,157.44
 Maria Isabel    Pintor          $15,824.41    $4,949.31   $20,773.72
 Cheryl Anne     Poe             $10,953.22    $2,957.34   $13,910.56
 Ma. Teresita    Purugganan      $20,162.50    $6,237.96   $26,400.46
 Leonila         Racraquin        $3,660.16    $1,298.49    $4,958.65
 Christie Rose   Ramos           $19,313.28   $13,107.64   $32,420.92
 Geraldine D     Ramos           $15,232.30    $8,638.95   $23,871.25
 Roselle         Santos           $5,503.23    $1,941.01    $7,444.24
 James           Soriano          $2,170.73      $976.82    $3,147.55
 Lelita          Suan               $911.31      $328.07    $1,239.38
 Kathleen        Sundo            $4,830.70    $1,739.05    $6,569.75
 Perix           Tabudlo Payne   $14,240.07    $4,602.76   $18,842.83
 Madel           Tagalog         $23,390.20    $8,995.87   $32,386.07
 Anna            Talento         $10,075.68    $2,720.49   $12,796.17
 Aleli           Turqueza         $4,648.21    $1,583.09    $6,231.30
 Jim             Untalan          $6,950.02    $1,876.44    $8,826.46
 Virgilio        Valencia        $19,569.14    $6,126.97   $25,696.11
 Evangeline      Valenzuela         $371.39      $100.24      $471.63
 Mark            Vetus           $10,572.93    $4,696.40   $15,269.33
 Maricar         Villarin         $7,468.35    $2,457.03    $9,925.38
 Amabelle        Yap              $4,970.42    $2,684.07    $7,654.49
 Melodee         Zamora           $4,677.00    $2,285.16    $6,962.16
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 SUB-TOTALS                     $1,559,099.79   $774,467.78   $2,333,567.57

 Paguirigan Incentive Payment     $10,000.00          $0.00     $10,000.00

 TOTALS                         $1,569,099.79   $774,467.78   $2,343,567.57
